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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


JESSIE HARRISON #185856,

            Plaintiff,                           Case No. 1:10−cv−00570−JTN−ESC

    v.                                           Hon. Janet T. Neff

MICHIGAN, STATE OF, et al.,

            Defendants.
                                             /



                                          ORDER
        This matter is before the court on Plaintiff's Motion for Leave to File First
Amended Complaint (Dkt. 67). Defendants object to the requested relief on the basis
that the proposed amendments are futile. After discussion with the parties' attorneys,
the court finds that additional briefing would be useful and orders that plaintiff shall
file a brief, no longer than 10 pages, addressing the issue of futility by June 4, 2014.
Defendants shall file a response, no longer than 10 pages, by June 18, 2014. Upon
receipt of the additional briefing, the court will determine whether the motion can be
decided on the papers submitted or if a hearing is needed.

         IT IS SO ORDERED.


Dated: May 21, 2014                               /s/ Timothy P. Greeley
                                                 TIMOTHY P. GREELEY
                                                 U.S. Magistrate Judge
